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                                                                Fulton County Superior Court
                                                                                             ***EFILED***TB
                                                                                    Date: 8/18/2022 3:27 PM
                                                                                   Cathelene Robinson, Clerk




                    IN THE SUPERIOR COURT OF FULTON COUNTY
                                STATE OF GEORGIA

CESAR AYALA,                           )
                                       )
       Plaintiff,                      )
                                       )            Civil Action
v.                                     )            File No.: 2022-CV-367450
                                       )
BOARD OF REGENTS OF THE                )            JURY TRIAL DEMANDED
UNIVERSITY SYSTEM OF GEORGIA           )
d/b/a UNIVERSITY OF NORTH              )
GEORGIA; BONITA JACOBS, in her         )
individual capacity; CHAUDRON          )
GILLE, in her individual capacity;     )
MARY GOWAN; in her individual          )
capacity, and MOHAN MENON, in his      )
individual capacity,                   )
                                       )
       Defendants.                     )
 ______________________________________)

             NOTICE OF APPEARANCE OF ALESSANDRA T. PALAZZOLO

        COMES NOW Plaintiff in the above-referenced matter and hereby notifies the Defendants

and the Court of the appearance of Alessandra T. Palazzolo, Georgia Bar No. 485399, as co-

counsel for Plaintiff.

        Respectfully submitted this 18th day of August, 2022.

                                                    BUCKLEY BEAL LLP

                                                    /s/ Alessandra T. Palazzolo
                                                    Alessandra T. Palazzolo
                                                    Georgia Bar No. 485399
                                                    apalazzolo@buckleybeal.com
                                                    600 Peachtree Street, NE, Ste. 3900
                                                    Atlanta, GA 30308
                                                    Telephone: (404) 781-1100
                                                    Facsimile: (404) 781-1101




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Case 1:22-cv-03341-MLB-JCF Document 1-1 Filed 08/19/22 Page 41 of 125




                                     Counsel for Plaintiff




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                     IN THE SUPERIOR COURT OF FULTON COUNTY
                                 STATE OF GEORGIA

CESAR AYALA,                           )
                                       )
       Plaintiff,                      )
                                       )             Civil Action
v.                                     )             File No.: 2022-CV-367450
                                       )
BOARD OF REGENTS OF THE                )             JURY TRIAL DEMANDED
UNIVERSITY SYSTEM OF GEORGIA           )
d/b/a UNIVERSITY OF NORTH              )
GEORGIA; BONITA JACOBS, in her         )
individual capacity; CHAUDRON          )
GILLE, in her individual capacity;     )
MARY GOWAN; in her individual          )
capacity, and MOHAN MENON, in his      )
individual capacity,                   )
                                       )
       Defendants.                     )
 ______________________________________)

                                 CERTIFICATE OF SERVICE

          I hereby certify that on August 18, 2022, I electronically filed the above NOTICE OF

APPEARANCE OF ALESSANDRA T. PALAZZOLO with the Clerk of Court via the Odyssey

E-filing system which will automatically send e-mail notification of such filing to the attorneys of

record.

                                                     /s/ Alessandra T. Palazzolo
                                                     Alessandra Palazzolo
                                                     Georgia Bar No. 485399




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                      IN THE SUPERIOR COURT OF FULTON COUNTY
                                  STATE OF GEORGIA

CESAR AYALA,                                        )
                                                    )
        Plaintiff,                                  )
                                                    )       Civil Action File No.
v.                                                  )       2022CV367450
                                                    )
BOARD OF REGENTS OF THE                             )
UNIVERSITY SYSTEM OF GEORGIA                        )       JURY TRIAL DEMANDED
d/b/a UNIVERSITY OF NORTH                           )
GEORGIA; BONITA JACOBS, in her                      )
individual capacity; CHAUDRON                       )
GILLE, in her individual capacity;                  )
MARY GOWAN, in her individual                       )
capacity; and MOHAN MENON, in his                   )
individual capacity,                                )
                                                    )
        Defendants.                                 )

      NOTICE TO SUPERIOR COURT CLERK OF REMOVAL OF CIVIL ACTION

TO:     Clerk of Court
        Superior Court of Fulton County

        PLEASE TAKE NOTICE that Defendants Board of Regents of the University System of

Georgia d/b/a University of North Georgia, Bonita Jacobs, in her individual capacity, Chaudron

Gille, in her individual capacity, Mary Gowan, in her individual capacity, and Mohan Menon, in

his individual capacity (collectively “Defendants”), by and through their undersigned counsel,

hereby notify the Clerk of the Superior Court of Fulton County, Georgia that they have filed a

Notice of Removal, attached as Exhibit “1,” removing this action from the Superior Court of

Fulton County, Georgia to the United States District Court for the Northern District of Georgia,

Atlanta Division.

        Respectfully submitted this 19th day of August, 2022.




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    Case 1:22-cv-03341-MLB-JCF Document 1-1 Filed 08/19/22 Page 57 of 125




                                          GREGORY, DOYLE, CALHOUN
                                          & ROGERS, LLC
                                          Attorneys for Defendants

                                          /s/William P. Miles, Jr.
                                          William P. Miles, Jr.
                                          Georgia Bar No. 505828

49 Atlanta Street
Marietta, Georgia 30060
Phone: 770-422-1776
Fax: 770-426-6155
Email: wmiles@gdcrlaw.com
Special Assistant Attorney General




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                     IN THE SUPERIOR COURT OF FULTON COUNTY
                                 STATE OF GEORGIA

CESAR AYALA,                                        )
                                                    )
       Plaintiff,                                   )
                                                    )       Civil Action File No.
v.                                                  )       2022CV367450
                                                    )
BOARD OF REGENTS OF THE                             )
UNIVERSITY SYSTEM OF GEORGIA                        )       JURY TRIAL DEMANDED
d/b/a UNIVERSITY OF NORTH                           )
GEORGIA; BONITA JACOBS, in her                      )
individual capacity; CHAUDRON                       )
GILLE, in her individual capacity;                  )
MARY GOWAN, in her individual                       )
capacity; and MOHAN MENON, in his                   )
individual capacity,                                )
                                                    )
       Defendants.                                  )

                                CERTIFICATE OF SERVICE

       This is to certify that on this 19th day of August, 2022, I electronically filed the herein

NOTICE TO SUPERIOR COURT CLERK OF REMOVAL OF CIVIL ACTION with the

Clerk of Court using the Odyssey electronic filing system and by mailing Plaintiff’s counsel in an

envelope bearing adequate postage thereon addresses as follows:

                                        Thomas J. Mew
                                    BUCKLEY BEAL LLP
                                       600 Peachtree Street, NE
                                          Suite 3900
                                    Atlanta, Georgia 30308

                                                    GREGORY, DOYLE, CALHOUN
                                                    & ROGERS, LLC
                                                    Attorneys for Defendants

                                                    /s/William P. Miles, Jr.
                                                    William P. Miles, Jr.
                                                    Georgia Bar No. 505828


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                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

CESAR AYALA,                                )
                                            )
       Plaintiff,                           )
                                            )     Civil Action File No.
v.                                          )
                                            )
BOARD OF REGENTS OF THE                     )
UNIVERSITY SYSTEM OF GEORGIA                )
d/b/a UNIVERSITY OF NORTH                   )
GEORGIA; BONITA JACOBS, in her              )
individual capacity; CHAUDRON               )
GILLE, in her individual capacity;          )
MARY GOWAN, in her individual               )
capacity; and MOHAN MENON, in his           )
individual capacity,                        )
                                            )
       Defendants.                          )

                           NOTICE OF REMOVAL
       Defendants Board of Regents of the University System of Georgia d/b/a

University of North Georgia, Bonita Jacobs, in her individual capacity, Chaudron

Gille, in her individual capacity, Mary Gowan, in her individual capacity, and

Mohan Menon, in his individual capacity (collectively “Defendants”), by and

through their undersigned counsel and pursuant to 28 U.S.C. §§ 1441(a) and 1446,

and hereby file this Notice of Removal and show this Court as follows:
   Case 1:22-cv-03341-MLB-JCF Document 1-1 Filed 08/19/22 Page 61 of 125




                                          1.


      On July 14, 2022, Plaintiff filed a lawsuit in the Superior Court of Fulton

County, Georgia captioned as Cesar Ayala v. Board of Regents of the University

System of Georgia d/b/a University of North Georgia; Bonita Jacobs, in her

individual capacity; Chaudron Gille, in her individual capacity; Mary Gowan; in

her individual capacity, and Mohan Menon, in his individual capacity. This

lawsuit was assigned Civil Action File No. 2022CV367450. True and correct

copies of the Complaint, as well as all other process, orders or pleadings received

by Defendants by service or otherwise in this action are attached hereto as Exhibit

“A” as required by 28 U.S.C. § 1446(a).


                                          2.


      The United States District Court for the Northern District of Georgia,

Atlanta Division, includes Fulton County. Accordingly, removal is proper under 28

U.S.C. § 1441(a).


                                          3.


      Plaintiff’s Complaint alleges violations of Title VII of the Civil Rights Act

of 1964, as amended, 42 U.S.C § 2000e, et seq. (“Title VII”), violations of 42


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   Case 1:22-cv-03341-MLB-JCF Document 1-1 Filed 08/19/22 Page 62 of 125




U.S.C. § 1981, violations of the Equal Protection Clause of the Fourteenth

Amendment of the United States Constitution, and a violation under the Georgia

Whistleblower Act, O.C.G.A. § 45-1-4 et seq.


                                         4.


      As a result, the United States District Court for the Northern District of

Georgia, Atlanta Division, has jurisdiction over this matter pursuant to 28 U.S.C.

§§ 1331, 1441(a), and 1441(c) and other applicable laws, as this case is a civil

action under the Constitution and/or laws of the United States.


                                         5.


      To the extent Plaintiff alleges claims under state law, this Court has

supplemental jurisdiction pursuant to 28 U.S.C § 1367 because such claims are

part of the same case or controversy that gives rise to Plaintiff’s claims under

federal law.


                                         6.


      On July 21, 2022, Plaintiff requested that Defendants waive formal service.

Although Defense Counsel indicated that Defendants would waive formal service,

Plaintiff’s process server served Defendant Board of Regents of the University

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System of Georgia with a copy of the Complaint due to an apparent

miscommunication between Plaintiff's counsel and the process server. The

remaining defendants have agreed to waive service. In an abundance of caution,

Defendants remove the Complaint now. As such, Defendants have timely filed

their Notice of Removal within the 30-day time limit imposed by 28 U.S.C. §

1446(b). All defendants consent to removal to federal court.


                                         7.


      Promptly after filing this Notice of Removal, written notice of this filing will

be provided to Plaintiff and a copy of this Notice of Removal will be filed with the

Superior Court of Fulton County, State of Georgia. A copy of the Notice to

Plaintiff of Removal of State Court Action is attached hereto as Exhibit “B”.

Exhibit B will be served on all adverse parties.


                                         8.


      By filing this Notice of Removal, Defendants do not waive any defense that

may be available to them. All Defendants consent to this removal.




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      WHEREFORE, Defendants respectfully request this Court assume full

jurisdiction of the controversy now pending between Plaintiff and Defendants in

the Superior Court of Fulton County as provided by law.


      Respectfully submitted this 19th day of August, 2022.

                         GREGORY, DOYLE, CALHOUN & ROGERS, LLC
                         Attorneys for Defendants
                         /s/William P. Miles, Jr.
                         William P. Miles, Jr.
                         Georgia Bar No. 505828


49 Atlanta Street
Marietta, GA 30060
Phone: 770-422-1776
Fax: 770-426-6155
Email: wmiles@gdcrlaw.com
Special Assistant Attorney General




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            CERTIFICATE OF COMPLIANCE WITH L.R. 5.1B


      I certify that the foregoing pleading was prepared in Times New Roman, 14-

point font, as approved by Local Rule 5.1B.

                               GREGORY, DOYLE, CALHOUN
                               & ROGERS, LLC
                               Attorneys for Defendant

                               /s/William P. Miles, Jr.
                               William P. Miles, Jr.
                               Georgia Bar No. 505828
                               Special Assistant Attorney General




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                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

CESAR AYALA,                                 )
                                             )
       Plaintiff,                            )
                                             )      Civil Action File No.
v.                                           )
                                             )
BOARD OF REGENTS OF THE                      )
UNIVERSITY SYSTEM OF GEORGIA                 )
d/b/a UNIVERSITY OF NORTH                    )
GEORGIA; BONITA JACOBS, in her               )
individual capacity; CHAUDRON                )
GILLE, in her individual capacity;           )
MARY GOWAN, in her individual                )
capacity; and MOHAN MENON, in his            )
individual capacity,                         )
                                             )
       Defendants.                           )

                          CERTIFICATE OF SERVICE

       I hereby certify that on this 19th day of August, 2022, I served a copy of the

foregoing NOTICE OF REMOVAL upon all parties to this matter by depositing

a true copy of same via United States mail, proper postage prepaid, addressed to

Plaintiff’s Counsel, as follows:

                                 Thomas J. Mew
                              BUCKLEY BEAL LLP
                                600 Peachtree Street, NE
                                    Suite 3900
                              Atlanta, Georgia 30308
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                                     /s/ William P. Miles, Jr.
                                     William P. Miles, Jr.
                                     Georgia Bar No. 505828
                                     Special Assistant Attorney General
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Case 1:22-cv-03341-MLB-JCF Document 1-1 Filed 08/19/22 Page 106 of 125
    Case 1:22-cv-03341-MLB-JCF Document 1-1 Filed 08/19/22 Page 107  of County
                                                                 Fulton 125 Superior Court
                                                                                             ***EFILED***TB
                                                                                    Date: 8/18/2022 3:27 PM
                                                                                   Cathelene Robinson, Clerk




                    IN THE SUPERIOR COURT OF FULTON COUNTY
                                STATE OF GEORGIA

CESAR AYALA,                           )
                                       )
       Plaintiff,                      )
                                       )            Civil Action
v.                                     )            File No.: 2022-CV-367450
                                       )
BOARD OF REGENTS OF THE                )            JURY TRIAL DEMANDED
UNIVERSITY SYSTEM OF GEORGIA           )
d/b/a UNIVERSITY OF NORTH              )
GEORGIA; BONITA JACOBS, in her         )
individual capacity; CHAUDRON          )
GILLE, in her individual capacity;     )
MARY GOWAN; in her individual          )
capacity, and MOHAN MENON, in his      )
individual capacity,                   )
                                       )
       Defendants.                     )
 ______________________________________)

             NOTICE OF APPEARANCE OF ALESSANDRA T. PALAZZOLO

        COMES NOW Plaintiff in the above-referenced matter and hereby notifies the Defendants

and the Court of the appearance of Alessandra T. Palazzolo, Georgia Bar No. 485399, as co-

counsel for Plaintiff.

        Respectfully submitted this 18th day of August, 2022.

                                                    BUCKLEY BEAL LLP

                                                    /s/ Alessandra T. Palazzolo
                                                    Alessandra T. Palazzolo
                                                    Georgia Bar No. 485399
                                                    apalazzolo@buckleybeal.com
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                                                    Atlanta, GA 30308
                                                    Telephone: (404) 781-1100
                                                    Facsimile: (404) 781-1101




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Case 1:22-cv-03341-MLB-JCF Document 1-1 Filed 08/19/22 Page 108 of 125




                                     Counsel for Plaintiff




                                 2
   Case 1:22-cv-03341-MLB-JCF Document 1-1 Filed 08/19/22 Page 109 of 125




                     IN THE SUPERIOR COURT OF FULTON COUNTY
                                 STATE OF GEORGIA

CESAR AYALA,                           )
                                       )
       Plaintiff,                      )
                                       )             Civil Action
v.                                     )             File No.: 2022-CV-367450
                                       )
BOARD OF REGENTS OF THE                )             JURY TRIAL DEMANDED
UNIVERSITY SYSTEM OF GEORGIA           )
d/b/a UNIVERSITY OF NORTH              )
GEORGIA; BONITA JACOBS, in her         )
individual capacity; CHAUDRON          )
GILLE, in her individual capacity;     )
MARY GOWAN; in her individual          )
capacity, and MOHAN MENON, in his      )
individual capacity,                   )
                                       )
       Defendants.                     )
 ______________________________________)

                                 CERTIFICATE OF SERVICE

          I hereby certify that on August 18, 2022, I electronically filed the above NOTICE OF

APPEARANCE OF ALESSANDRA T. PALAZZOLO with the Clerk of Court via the Odyssey

E-filing system which will automatically send e-mail notification of such filing to the attorneys of

record.

                                                     /s/ Alessandra T. Palazzolo
                                                     Alessandra Palazzolo
                                                     Georgia Bar No. 485399




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                     IN THE SUPERIOR COURT OF FULTON COUNTY
                                 STATE OF GEORGIA

CESAR AYALA,                                       )
                                                   )
       Plaintiff,                                  )
                                                   )       Civil Action File No.
v.                                                 )       2022CV367450
                                                   )
BOARD OF REGENTS OF THE                            )
UNIVERSITY SYSTEM OF GEORGIA                       )       JURY TRIAL DEMANDED
d/b/a UNIVERSITY OF NORTH                          )
GEORGIA; BONITA JACOBS, in her                     )
individual capacity; CHAUDRON                      )
GILLE, in her individual capacity;                 )
MARY GOWAN, in her individual                      )
capacity; and MOHAN MENON, in his                  )
individual capacity,                               )
                                                   )
       Defendants.                                 )

      NOTICE TO SUPERIOR COURT CLERK OF REMOVAL OF CIVIL ACTION

TO:    Clerk of Court
       Superior Court of Fulton County

       PLEASE TAKE NOTICE that Defendants Board of Regents of the University System of

Georgia d/b/a University of North Georgia, Bonita Jacobs, in her individual capacity, Chaudron

Gille, in her individual capacity, Mary Gowan, in her individual capacity, and Mohan Menon, in

his individual capacity (collectively “Defendants”), by and through their undersigned counsel,

hereby notify the Clerk of the Superior Court of Fulton County, Georgia that they have filed a

Notice of Removal, attached as Exhibit “1,” removing this action from the Superior Court of

Fulton County, Georgia to the United States District Court for the Northern District of Georgia,

Atlanta Division.

       Respectfully submitted this 19th day of August, 2022.




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                                         GREGORY, DOYLE, CALHOUN
                                         & ROGERS, LLC
                                         Attorneys for Defendants

                                         /s/William P. Miles, Jr.
                                         William P. Miles, Jr.
                                         Georgia Bar No. 505828

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Marietta, Georgia 30060
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Fax: 770-426-6155
Email: wmiles@gdcrlaw.com
Special Assistant Attorney General




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                     IN THE SUPERIOR COURT OF FULTON COUNTY
                                 STATE OF GEORGIA

CESAR AYALA,                                        )
                                                    )
       Plaintiff,                                   )
                                                    )       Civil Action File No.
v.                                                  )       2022CV367450
                                                    )
BOARD OF REGENTS OF THE                             )
UNIVERSITY SYSTEM OF GEORGIA                        )       JURY TRIAL DEMANDED
d/b/a UNIVERSITY OF NORTH                           )
GEORGIA; BONITA JACOBS, in her                      )
individual capacity; CHAUDRON                       )
GILLE, in her individual capacity;                  )
MARY GOWAN, in her individual                       )
capacity; and MOHAN MENON, in his                   )
individual capacity,                                )
                                                    )
       Defendants.                                  )

                                CERTIFICATE OF SERVICE

       This is to certify that on this 19th day of August, 2022, I electronically filed the herein

NOTICE TO SUPERIOR COURT CLERK OF REMOVAL OF CIVIL ACTION with the

Clerk of Court using the Odyssey electronic filing system and by mailing Plaintiff’s counsel in an

envelope bearing adequate postage thereon addresses as follows:

                                        Thomas J. Mew
                                    BUCKLEY BEAL LLP
                                       600 Peachtree Street, NE
                                          Suite 3900
                                    Atlanta, Georgia 30308

                                                    GREGORY, DOYLE, CALHOUN
                                                    & ROGERS, LLC
                                                    Attorneys for Defendants

                                                    /s/William P. Miles, Jr.
                                                    William P. Miles, Jr.
                                                    Georgia Bar No. 505828


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